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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

EUFRASIA HERRERA                         §
                                         §
VS.                                      §        NO. 3:15-CV-00504-D
                                         §
SAFECO INSURANCE COMPANY                 §
OF INDIANA                               §

                ORDER GRANTING AGREED MOTION FOR REMAND

       After considering Plaintiff EUFRASIA HERRERA and Defendant SAFECO

INSURANCE COMPANY OF INDIANA’s Agreed Motion for Remand, the Court

       FINDS that the Agreed Motion for Remand is meritorious and this case should be

REMANDED to State Court for further proceedings.

       IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that this case be

REMANDED to the 116TH Judicial District Court of Dallas County, Texas.


        Signed March 12, 2015.




                                                 ___________________________________
                                                 SIDNEY A. FITZWATER
                                                 UNITED STATES DISTRICT JUDGE




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